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!,.   _ ..




                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK
                                                                                X


                   UNITED STATES OF AMERICA

                                        -v. -                                        SEALED INDICTMENT

                   SEYYED MOHAMMAD HOSEIN MUSA KAZEMI ,                              21 Cr .
                      a/k/a " Mohammad Hosein Musa Kazem, "
                     a/k/a " Hosein Zamani ," and
                   SAJJAD KASHIAN ,
                     a/k/a " Kiarash Nabavi ,"

                                        Defendants .

                                                                                X


                                                                  COUNT ONE
                                                                 (Conspiracy)

                        The Grand Jury charges :

                                                                  OVERVIEW

                             1.    From at least in or about August 2020 to at least

                   in or about November 2020 , SEYYED MOHAMMAD HOSEIN MUSA KAZEMI

                   ( ~ L.5 L>"'~ ~    ..l....a_:;t___   ~)   ,    a/k/a "Mohammad Hosein Musa Kazem , "

                   a/k/a " Hosein Zamani , " and SAJJAD KASHIAN (u~L.5 ..)4-w), a/k/a

                   ~Kiarash Nabavi ," the defendants, both of whom are nationals of

                   the Islamic Republic of Iran ("Iran"), participated in a

                   coordinated and multi-faceted , cyber-enabled campaign to

                   intimidate and influence American voters , and otherwise

                   undermine voter confidence and sow discord, in connection with

                   the 2020 U.S. Presidential election (the "Voter Intimidation and

                   Influence Campaign") .
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            2.    At all times relevant to this Indictment,

Eeleyanet Gostar (u4-JI.J---:!1   ~ c.u4---L-:!I)   (now known as Emennet

Pasargad ( J LJ'J Lui~ c.w (.)--A-;!I)) was an Iran-based company that

purported to provide cybersecurity services within Iran.

Eeleyanet Gostar has provided services to the Iranian

Government , including to an influential governmental body , the

Guardian Council .     SEYYED MOHAMMAD HOSEIN MUSA KAZEMI, a/k/a

"Mohammad Hosein Musa Kazem," a/k/a "Hosein Zamani ," and SAJJAD

KASHIAN , a/k/a "Kiarash Nabavi," the defendants, were

experienced hackers who worked as contractors for Eeleyanet

Gostar.

            3.    The first phase of the Voter Intimidation and

Influence Campaign occurred in or about September and October

2020 , when the members of the conspiracy conducted

reconnaissance on, and attempted to compromise , approximately

eleven state vo ter websites, including state voter registration

websites and state voter information websites . These efforts

resulted in the successful exploitation of misconfigured

computers of a particular U. S . state ("State -1"), and the

resulting unauthorized downloading of voter information for more

than 100 , 000 State-1 voters.

            4.    The next phase of the Voter Intimidation and

Influence Campaign involved members of the conspiracy sending

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Facebook messages and emails to undermine confidence in the

integrity of voting systems that would be used in the 2020 U. S .

Presidential Election .    Specifically , in or about October 2020 ,

the members of the conspiracy sent Facebook messages and emails

(the "False Election Messages") to Republican Senators ,

Republican members of Congress , individuals associated with the

Presidential campaign of Donald J. Trump, White House advisors ,

and members of the media, claiming that the Democratic Party was

planning to exploit "serious security vulnerabilities " in state

voter registration websites to "edi t mail-in ballots or even

register non-existent voters . "    In the False Election Messages,

the members of the conspiracy claimed to be a " group of Proud

Boys volunteers ." 1

           5.    The members of the conspiracy simultaneously

disseminated a video (the "False Blection Video") through the

False Election Messages and separately using Facebook , YouTube ,

and Twitter.    The False Election Video purported to depict an



1 Proud Boys is a nationalist organization with multiple U. S .
chapters and potential activity in other Western countries . The
group describes itself as a "pro-Western fraternal organization
for men who refuse to apologize for creating the modern world;
aka Western Chauvinists ." Proud Boys members routinely attend
rallies, protests , and other First Amendment-protected events ,
where they sometimes engage in violence against individuals whom
they perceive as threats to their values . Throughout the United
States , there are local Proud Boys chapters , which are typically
led by chapter "presidents."
                                    3
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individual hacking into state voter websites and then using that

illicitly obtained voter information to create fraudulent

absentee ballots through the Federal Voting Assistance Program

("FVAP") for military and overseas voters .     In fact , the

computer intrusions depicted in the False Election Video were

simulated intrusions created by members of the conspiracy using

their own server and data obtained during the State-1

exploitation .   Further , the FVAP could not be leveraged in the

manner implied by the False Election Video.      As with the False

Election Messages , the False Election Video contained multiple

depictions of the Proud Boys logo , meant as a "false flag" to

deceive the recipients into believing that the Proud Boys

organization had disseminated the False Election Video.

           6.    At the same time that the members of the

conspiracy were sending the False Election Messages and

disseminating the False Election Video , they also engaged in an

online intimidation campaign to email a message to tens of

thousands of registered voters , at least some of whom were among

those whose information the members of the conspiracy had

obtained from State-l ' s voter website.    The emails were also

purportedly from the Proud Boys , targeted registered Democrats,

and threatened the recipients with physical injury if they did

not change their party affiliation and vote for President Trump

                                   4
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(the "Voter Threat Emails").    The Voter Threat Emails , which

included the name and street address of the recipient , read:

          We are in possession of all your information
          (email , address, telephone ... everything) .

          You are currently registered as a Democrat and
          we know this because we have gained access
          into the entire voting infrastructure. You
          will vote for Trump on Election Day or we will
          come after you . Change your party affiliation
          to Republican to let us know you received our
          message and will comply . We will know which
          candidate you voted for .

          I would take this seriously if I were you .

          7.    In order to execute this campaign , the members of

the conspiracy used , among other things , computer servers around

the world that they had previously compromised .

          8.   Additionally , in or about September and October

2020 , the members of the conspiracy obtained unauthorized access

to the computer network of an American media company ("Media

Company -1" ) , which provided a content management system ("CMS")

for dozens of newspapers and other publications .      Prior to the

2020 U. S . Presidential election , the members of the conspiracy

tested their ability to modify and create content on Media

Company-l 's compromised system , which would have provided them

another vehicle for further disseminating false claims

concerning the election .




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             9.      The members of the conspiracy attempted to

leverage their unauthorized access in the subsequent phase of

the Voter Intimidation and Influence Campaign .       Specifically , on

or about November 4 , 2020 , the day after the 2020 U. S .

Presidential election , they attempted to gain access to Media

Company-l ' s network without authorization using stolen

credentials .       However , because of an earlier victim notification

from the Federal Bureau of Investigation , Media Company-1 had by

that time mitigated the conspirators ' unauthorized access and

their log-in attempts failed .

                               THE DEFENDANTS

             10 .   At all times relevant to this Indictment , SEYYED

MOHAMMAD HOSEIN MUSA KAZEMI, a/k/a "Mohammad Hosein Musa Kazem,"

a/k/a "Hosein Zamani ," the defendant , was an Iran-based hacker.

Among other things , KAZEMI helped to carry out the Voter

Intimidation and Influence Campaign by compromising servers used

to send the Voter Threat Emails , preparing emails for the Voter

Threat Email campaign , and compromising Media Company-1 CMS

accounts .

             11.     At all times relevant to this Indictment, SAJJAD

KASHIAN , a/k/a "Kiarash Nabavi ," the defendant , was an Iran-

based hacker.        Among other things, KASHIAN managed computer

network infrastructure used to carry out the Voter Intimidation

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and Influence Campaign and sought to purchase social media

accounts in furtherance of the Voter Intimidation and Influence

Campaign .

                           STATUTORY ALLEGATIONS

             12 .   From at least in or about August 2020 through at

least in or about October 2020, in the Southern District of New

York and elsewhere , SEYYED MOHAMMAD HOSEIN MUSA KAZEMI , a/k/a

"Mohammad Hosein Musa Kazem," a/k/a "Hosein Zamani ," and SAJJAD

KASHIAN , a/k/a "Kiarash Nabavi , " the defendants , and others

known and unknown , willfully and knowingly combined , conspired ,

confederated , and agreed together and with each other to commit

offenses against the United States , and aided and abetted the

same , to wit , computer intrusion , in violation of Title 18 ,

United States Code , Sections 1030 (a) (2) , 1030 (c) (2) (B) (ii) ,

1030 (a) (5) (A) , 1030 (c) (4) (A) (i) (I) , and 1030 (c) (4) (B) (i) , voter

intimidation , in violation of Title 18, United States Code ,

Section 594 , and the transmission of interstate threats , in

violation of Title 18, United States Code , Sections 875(c) and

2.

             13 .   It was a part and an object of the conspiracy

that SEYYED MOHAMMAD HOSEIN MUSA KAZEMI , a/k/a "Mohammad Hosein

Musa Kazem ," a/k/a "Hosein Zamani , " and SAJJAD KASHIAN, a/k/a

"Kiarash Nabavi ," the defendants , and others known and unknown,

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would and did intentionally access computers wi t hout

authorization , and exceed authorized access , and thereby obtain

information from a protected computer , in furtherance of a

criminal and tortious act in violation of the Constitution and

laws of the United States and of any State , in vio l ation of

Title 18 , United States Code , Sections 1030(a) (2) and

1030(c) (2) (B) (ii) , to wit , the voter intimidation and interstate

threats offenses charged in Counts Four and Five of this

Indictment.

            14.    It was further a part and an object of the

conspiracy that SEYYED MOHAMMAD HOSEIN MUSA KAZEMI , a/k/a

" Mohammad Hosein Musa Kazem ," a/k/a "Hosein Zamani ," and SAJJAD

KASHIAN , a/k/a " Kiarash Nabavi ," the defendants , and others

known and unknown,      knowingly would and did cause the

transmission of a program , information , code and command , and

aided and abetted the same , and , as a result of such conduct ,

intentionally cause damage , without authorization , to a

protected computer , which would and did cause a loss               (including

loss resulting from a related course of conduct affecting one

and more other protected computers ) aggregat in g to at least

$5 , 000 to one and more persons during any one year period , in

violation of Title 18 , United States Code , Sections

1030 (a) (5) (A) , 1030 (c) (4) (A) (i) (I) , 1030 (c) (4) (B) (i) , and 2 .

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           15 .   It was a further part and an object of the

conspiracy that SEYYED MOHAMMAD HOSEIN MUSA KAZEMI , a/k/a

"Mohammad Hosein Musa Kazem , " a/k/a "Hosein Zamani ," and SAJJAD

KASHIAN , a/k/a "Kiarash Nabavi , " the defendants , and others

known and unknown , would and did intimidate , threaten , coerce ,

and attempt to intimidate , threaten , and coerce , any other

person for the purpose of interfering with the right of such

other person to vote and to vote as he may choose , and of

causing such other person to vote for, and not to vote for , a

can didate for the office of President , at an election held

solely and in part for the purpose of electing such candidate ,

in violation of Title 18 , United States Code , Sections 594 and

2 , to wit , KAZEMI and KASHIAN transmitted , and aided and abetted

the transmission , of emails sent to U. S . voters that threatened

those voters with physical injury unless those voters voted for

President Trump .

           1 6.   It was further a part and an object of the

conspiracy that SEYYED MOHAMMAD HOSEIN MUSA KAZEMI , a/k/a

" Mohammad Hosein Musa Kazem , " a/k/a "Hosein Zamani ," and SAJJAD

KASH I AN , a/k/a " Kiarash Nabavi ," the defendants , and others

known and unknown , intentionally and knowingly did transmit in

interstate and foreign commerce a communication containing a

threat to injure the person of another , in violation of Title

                                    9
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18 , United States Code , Sections 875(c) and 2 , to wit , KAZEMI

and KASHIAN transmitted , and aided and abetting the

transmission , of emails sent to U. S . voters which threatened

t h ose voters with phys i cal injury .

                                     Overt Acts

              17 .   In furtherance of the conspiracy a n d to effect

the illegal ob j ects thereof , the fo l lowing overt acts , among

others , were committed in the Southern District of New York and

elsewhere :

              a.     In or about September and October 2020 , SEYYED

MOHAMMAD HOSEIN MUSA KAZEMI , a/k/a "Mohammad Hosein Musa Kazem , "

a/k/a " Hosein Zamani ," the defendant , compromised a server

l ocated abroad (the " Overseas Server " ) in order to send out the

Voter Threat Emails .

              b.     In or abo u t   September and October 2020 , SEYYED

MOHAMMAD HOSEIN MUSA KAZEMI , a/k/a " Mo h ammad Hosein Musa Kazem ,"

a/k/a " Hosein Zama n i, " the defendant , obta i ned unauthorized

access to Med i a Company - l ' s computer network .

              c.     In or about October 2020 , SAJJAD KASH I AN , a/k/a

"Kiarash Nabavi ," the defendant , managed computer network

infrastructure while knowing that it would be used by members of

the conspiracy to conduct the Voter Intimidation and Influence

Campaign .

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          d.       In or about October 2020 , members of the

conspiracy sent False Election Messages to individuals located

in the Southern District of New York.

          e.      In or about October 2020 , members of the

conspiracy sent emails to journalists , including journalists

located in the Southern District of New York , wit h a message

substantially similar to the False Election Messages .

           (Title 18 , United States Code , Section 371.)


                                COUNT TWO
                 (Computer Fraud - Unauthorized Access In
                     Furtherance of a Criminal Act)

     The Grand Jury furt h er charges :

          18.     The allegations contained in paragraphs 1 through

11 and 1 7 of t h is Indictment are repeated and realleged as if

fully set forth herein.

          19 .    From at least in or about September 2020 to at

least in or about October 2020 , SEYYED MOHAMMAD HOSEIN MUSA

KAZEMI , a/k/a "Mohammad Hosein Musa Kazem , " a/k/a "Hosein

Zamani ," the defendant , who wil l first be brought to the

Southern District of New York , intentionally accessed a computer

without author i zation and exceeded authorized access , and

thereby obtained information from a protected computer , in

furtherance of a criminal and tortious act in violation of the

Constitut ion and laws of the United States and of any State , in
                                    11
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violation of Title 18 , United States Code , Sections 1030 (a) (2),

1030(c) (2) (B) (ii) and 2 , to wit, KAZEMI conducted , aided and

abetted in conducting , and attempted to conduct , computer

intrusions to gain unauthorized access to the computer systems

of Media Company - 1 and various state voter websites , including

State-1, in furtherance of committing the voter intimidation and

interstate threats offenses charged in Counts Four and Five of

this Indictment .

                     (Title 18 , United States Code ,
        Sections 1030(a) (2), 1030(b) , and (c) (2) (B) (ii) ; 2; and
                                  3238 . )


                           COUNT THREE
    (Computer Fraud - Knowingly Damaging a Protected Computer)

     The Grand Jury further charges:

          20 .   The allegations contained in paragraphs 1 through

11 and 17 of this Indictment are repeated and realleged as if

fully set forth herein.

          21 .   From at least in or about September 2020 to at

least in or about October 2020, SEYYED MOHAMMAD HOSEIN MUSA

KAZEMI, a/k/a "Mohammad Hosein Musa Kazem , " a/k/a "Hosein

Zamani , " the defendant , who will first be brought to the

Southern District of New York , knowingly caused the transmission

of programs , information, codes , and commands , and aided and

abetted the same , and as a result of such conduct , intentionally

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did cause damage, without authorization, to protected computers ,

which are used in interstate and foreign commerce , and such

conduct caused losses to Media Company-1 in excess of $5 , 000

duri n g any one-year period , to wit, KAZEMI , without the

knowledge or authorization of Media Company-1 , accessed the

computer networks of Media Company-1 and attempted to change

data located on those networks, causing losses in excess of

$5 , 000 to Media Company-1 .

                       (Title 18, United States Code ,
      Sect i ons 1030 (a) (5) (A), (c) (4) (A) (i) (I), and (c) (4) (B) (i);
                                  2 ; and 3238 . )

                               COUNT FOUR
                          (Voter Intimidation)

     The Grand Jury further charges :

           22 .   The allegations contained in paragraphs 1 through

11 and 17 of this Indictment are repeated and realleged as if

fully set forth herein.

           23 .   From at least in or about September 2020 to at

least in or about October 2020 , SEYYED MOHAMMAD HOSEIN MUSA

KAZEMI , a/k/a "Mohammad Hosein Musa Kazem ," a/k/a "Hosein

Zamani ," and SAJJAD KASHIAN , a/k/a "Kiarash Nabavi," the

defendants , who will first be brought to the Southern District

of New York , intimidated , threatened , coerced , and attempted to

intimidate, threaten , and coerce , any other person for the

purpose of interfering with the right of such other person to
                                     13
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vote and to vote as he may choose, and of ca using such other

person to vote for , and not to vote for , a candidate for the

office of President , at an election held solely and in part for

the purpose of electing such candidate , to wit , KAZEMI and

KASHIAN transmitted , and aided and abetting the transmission, of

emails sent to U. S. voters which threatened those voters with

physical injury unless those voters voted for President Trump.

      (Title 18 , United States Code , Sections 594 , 2 , and 3238 . )

                              COUNT FIVE
                 (Transmission of Interstate Threats)

     The Grand Jury further charges :

          24 .   The allegations contained in paragraphs 1 through

11 and 17 of this Indictment are repeated and realleged as if

fully set forth herein.

          25.    From at least in or about September 2020 to at

least in or about October 2020 , SEYYED MOHAMMAD HOSEIN MUSA

KAZEMI , a/k/a "Mohammad Hosein Musa Kazem ," a/k/a "Hosein

Zamani , " and SAJJAD KASHIAN , a/k/a "Kiara.sh Nabavi ," the

defendants , who will first be brought to the Southern District

of New York , intentiona lly and knowingly did transmit in

interstate and foreign commerce a communication containing a

threat to injure the person of another , to wit , KAZEMI and

KASHIAN transmitted , and aided and abetting the transmission , of

emails sent to U. S. voters which threatened those voters with
                                   14
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 physical injury.
                          (Title 18, United States Code,
                          Sections 875(c), 2, and 3238.)

                    FORFEITURE ALLEGATION AS TO COUNT ONE

              26.   As a result of committing one or more of the

 offenses alleged in Count One of this Indictment, SEYYED

 MOHAMMAD HOSEIN MUSA KAZEMI, a/k/a "Mohammad Hosein Musa Kazem,"

 a/k/a "Hosein Zamani," and SAJJAD KASHIAN, a/k/a "Kiarash

 Nabavi," the defendants, shall forfeit to the United States,

 pursuant to Title 18, United States Section, Section 1030(i),

 any and all property, real or personal, constituting or derived

. from,   any proceeds obtained directly or indirectly, as a result

 of said offenses, and any and all personal property that was

 used or intended to be used to commit or to facilitate the

 commission of said offenses, including but not limited to a sum

 of money in United States currency representing the amount of

 proceeds traceable to the commission of said offenses.

            FORFEITURE ALLEGATION AS TO COUNTS TWO AND THREE

              27.   As a result of committing one or more of the

 offenses alleged in Counts Two and Three of this Indictment,

 SEYYED MOHAMMAD HOSEIN MUSA KAZEMI, a/k/a "Mohammad Hosein Musa

 Kazem," a/k/a "Hosein Zamani," the defendant, shall forfeit to

 the United States, pursuant to Title 18, United States Section,

 Section 1030(i), any and all property, real or personal,

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constituting or derived from, any proceeds obtained directly or

indirectly, as a result of said offenses, and any and all

personal property that was used or intended to be used to commit

or to facilitate the commission of said offenses, including but

not limited to a sum of money in United States currency

representing the amount of proceeds traceable to the commission

of said offenses.

                 FORFEITURE ALLEGATION AS TO COUNT FIVE

           28.    As a result of committing the offense alleged in

Count Five of this Indictment, SEYYED MOHAMMAD HOSEIN MUSA

KAZEMI, a/k/a "Mohammad Hosein Musa Kazem," a/k/a "Hosein

Zamani," and SAJJAD KASHIAN, a/k/a "Kiarash Nabavi," the

defendants shall forfeit to the United States, pursuant to Title

18, United States Code, Section 981 (a) (1) (C), and Title 28,

United States Code, Section 2461(c), any and all property, real

and personal, which constitutes or is derived from proceeds

traceable to the commission of said offense, including but not

limited to a sum of money in United States currency representing

the amount of proceeds traceable to the commission of said

offense.

                      Substitute Assets Provision
           29.    If any of the above-described forfeitable

property, as a result of any act or omission of the defendants:


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                a.   cannot be located upon the exercise of due

diligence;

                b.   has been transferred or sold to, or

deposited with, a third person;

                c.   has been placed beyond the jurisdiction of

the c·ourt;

                d.   has been substantially diminished in value ;

or

                e.   has been commingled with other property

which cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p), and Title 28, United Stat~s

Code, Section 2461(c), to seek forfeiture of any other property

of the defendants up to the value of the above forfeitable

property.


        (Title 18, United States Code, Sections 981 & 1030;
          Title 21, United States Code, Section 853; and
           Title 28, United States Code, Section 2461 .)




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FOREPERSON                             DAMIAN WILLIAMS
                                       United States Attorney




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              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


                UNITED STATES OF AMERICA

                                - v . -

         SEYYED MOHAMMAD HOSEIN MUSA KAZEMI,
         a/k/a "Mohammad Hosein Musa Kazem,"
              a/k/a "Hosein Zamani," and

       SAJJAD KASHIAN, a/k/a "Kiarash Nabavi,"

                         Defendants .


                     SEALED INDICTMENT

                          21 Cr .

     (18 U . S . C . §§ 371 , 594 , 875 (C) , 1030 (a) (2) ,
          1030 (a) (5) (A) , 1030 (c) (2) (B) (ii) ,
        (c) (4) (A) (i) (I) ,     (c) (4) (B) (i) and 2 . )


                                                  DAMIAN WILLIAMS
                          United States Attorney .



                            A TRUE BILL


                                                         FOREPERSON
